      Case 8:07-cr-00495-JSM-TGW Document 134 Filed 05/22/08 Page 1 of 6 PageID 333
A 0 24SB (Rev 06/05) Shes[ 1 - Indpenr in a Criminal Case


                            UNITED STA TES DISTRICT COURT
                                                  \IIU!)I.F. DISTRICT 01- FLORIDA
                                                           TALIPA Dl\-ISIUS




LN ITE D STATES OF AMERICA

                                                               CASE NUMBER: 8:07-cr-495-T-30TG W
                                                               USM NUMBER: 49637-0 18
VS.



C A M L O GARCIA-RODRIGUEZ
                                                               Defendant's Atrorney: Ronald Kurpiers, IT. cja.

TI-E DEFENDANT:

X pleaded guil~yro counc(s) O N J of the Second Supcrscding Lud~clment.
-
- pleaded nolo contendere to counr(s) which was accepted by the corn.
- was found guilty on count(s) after a plea of not guilty.

TITLE & SECTION                     NATURE OF OFFENSE                             OFFENSE ENDED                     COUNT

18 U.S.C. $ 371                     Conspuacy to Commir Offinws                   December 19, 2007                   One


        Thc dzfendant is sentsnced as provided ia pages 2 through 6 of h i s judgmenr. The sentence is imposed pursuanr to the Sentencing
Refornl Act of 1981.

- The defcndan~h a been found not guilly on count(s)
X Count(s) ONE of the Indictment and Count Onc of h e Fkst Superseding Ind~ctmentare dismissed on the motion of the United States.
-
IT I S FUFTI-IER ORDERED that the defendant musr norify rhe United S m e s Aaomey for this district w i t h 30 days of a n y change of
name, res~dence,or mailing address unril all fines: restitution, costs, and special assessments imposed by this judgmenr are fully paid.
If ordered to pay restitution, the defendant must notify the court and Uni~edStates Allomey of any material change in economic
circumsrances.


                                                                                  Date o f Imposi~iono f Sentence: May 22, 2008
      Case 8:07-cr-00495-JSM-TGW Document 134 Filed 05/22/08 Page 2 of 6 PageID 334
A 0 2458 [Rev 06/05) Sheet 2 - Imprisonment (Judgment in a Crimind C8se)
Defendant:         CAMILO GARCIA-RODRIGUEZ                                                                   Jud-pent - Page 2 of
Case No.:          8:07-cr-495-T-3OTGW

                                                            IMPRISONMENT

        After considering the advisory sentencing guidelines and all of t h e factors identified in Title 18 U.S.C. $S
3553(a)(1)-(7), the c o u r t finds t h a t the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


         T h e defendant is hereby committed to the custody of the United States Bureau of Prisons to bc imprisoned f o r
a total term of TWENTY-ONE (21) MONTHS as to Count One of the Second Superseding Indictment.




-
X The court makes the following recommendations to the Bureau of Pnsons: 'I'he de rendant shall be kept separate tiom his co-
defendants named i n this indictmenr.



-
X The defendant is d e d to the custDdy of the United Smee M            d
 l3e defendant shall surrenda to he United States Marshal fix h i s disaict

         -at   -am4p.m. on -.
         -as notified by the United States Marshal.
-The defendant shall surrender for savicc of sentence at the institution designated by the Bu u
                                                                                              rco   ot Prisons

       -
       -before   2 p.m. on -.
          as notified by    United
                          the             Marshal.
                                     States
         -as notified by the Probation or Rrrtrial ScFvices Ofiice.



          I have executed ttus judgment as fo l lows:




          Defendant delivered on                                             to
- at                                                                  .with a certified copy of this judgment.

                                                                                  United States Marshal

                                                                       By:
                                                                                          Depuly United S~alesMarshal
      Case 8:07-cr-00495-JSM-TGW Document 134 Filed 05/22/08 Page 3 of 6 PageID 335
A 0 245B (Rev. 06/05) Sheet 3 - Supenised Release (Judgment in a Cnrmnal Case)

Defendant:           CAMEO GARCIA-RODRIGUEZ                                                                                      -
                                                                                                                       Judgment Page 3 of 6
Case No.:                            W
                     8:07-cr-495-T-30TG
                                                             SUPERVISED RELEASE
           Upon rclcase from imprisonment, the defendant shall be on supervised rclcase f o r a term o f THREE (3) YEARS as to
C o u n t One o f the Second Superseding Indktment.

         1he defendant must report to rhe probation office in the district to which the defendant is released within 72 hours of release fkom
the custody of the Bweau of Prisons.

The defendant shall not commit another federal, state, or local crime. The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any lmlawful use of a controUed substance. The defendant shall submit m one drug test within 15 days
of release from imprisonment and at least two periodic drug tests thereafter, as determined by the caun.

X        The above drug testing condition is suspended, based on the court's determinabon thPr the defendant poses a low risk of fimtre
         substance abuse.
         The defendant shall not possess a firearm. destructive device, or any other dangerous weapon
         The defendant shall cooperate in the collection of DNA as directed by the probaI(on o Uficer

            Lfthisjudgment imposes a f i e or restitution it is a condition of supervised relcdsc tha I h e defcndant pay In accordanceWI th L h t
            Schedule of Payments sheet of this judgment
            The defendant must comply with the standard conditions that have been adopted by h s court as well as with any adhtional
            conditions on the attached page.
                                              STANDARD CONDITIONS OF SUPERVISI0 N
            the defendant shall not leave the judicial district without the permission of the court or pro b a ~ i u noflicer,

            the defendant shall report to the probation offim and shall submit a truthful and complete written report within the first five days o f each
            month:

            the dcfendant shalI answer rruthfulIy all inquiries by the probation officer and follow the insbuctions of the probation o f f i c ~

            the defendant shd support his or her dependents and meet other family responsibilities;

            the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, mining. or other
            acceptable reasons;

            the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

            the ddendant shall &in from excessive use of alcohol and shall not purchase. possess, use, dl s tri bute, or administer any controlled
            substance or my paraphemdia related to any controlled substances, except as prescribed by n ph ysr clan:

            the dcfendont shall not frequent places where controlled substances are illegally sold, usd, distributcd, or administered;

            the defendant shall not associate with any pasons engaged in criminal activity and shall not assoc ~ n twith
                                                                                                                    c    any person convicted of a
            felony. unless granted pamission to do so by the probation oflim.

            the defendant shall pamit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed inplain view of the probationofficer,

            the defendant shaII notify the pmbation officer within seventytwo hours of being arrested or questioned by a law enforcement officer.

            the defendant shall not mter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permission of the court; and

          as directed by the probation officer, the defendant shall notify third parlies of risks that may be occasioned by h e defendant's criminal record
          or personal history or chmcteristics and shall permit the probation officer to make such notitica(ions and ro confirm the ddmdant's
          compliance with such notification requirement.
A 0 Case   8:07-cr-00495-JSM-TGW
    2458 (Rev.                -                 Document
               06105) Sheet 3C Supervised Reiease [Judgment in n134    Filed
                                                                 Criminal C s e ) 05/22/08   Page 4 of 6 PageID 336
                                                                         -                              >


Defendant:        CAMILO GARCIA-RODRIGUEZ                                                    Judgmsnt - Pase .
                                                                                                             Iof 6
Case No.:         8:07-cr-495-T-30TGW
                                       SPECIAL CONDITIONS OF SUPERVlSION

         The defendant shall also comply with the following additional conditions of supenrid release

X
-        Should the defertdant be deported, hdshe shall not be allowed to re-enter the UnitedStates without the express pcrmissicm of
         the appropriate governmental authority.

-
X        fhe defendant shall cooperate in the collection ofDNA as directed by the probation officer.
-
X        The mandatory drug testing provisions pwsuant to the Violent Crime Control Act are waived Howevsr, h e Coun orders the
         probation oEcer LO conduct mdom &ug testing not to exceed 104 tests per year.
      Case 8:07-cr-00495-JSM-TGW Document 134 Filed 05/22/08 Page 5 of 6 PageID 337
A 0 2458 (Rev 06/05) Sheet 5   - Criminal Monetary Penalties(Judgmml in a Criminal Case)
Defendant:          CAMILO GARCIA-RODRIGUEZ                                                 Judgmenc - Page 5 of 6
Case No.:           8:07-cr-495-T-30TGW

                                           CRIMINAL MONETARY PENALTIES

          The defendant must pay the total cdinal monetary penalties under the schedule of payments on Sheet 6.
                            Assessment                                                      Total Restitution


          -
          Totals:


          The determination ofrestitution @ deferred u n t i l .           An Amended Judgment in o Criminal Case ( A 0 245C) will
          be entered after such deterrmnat~on.
          The defendant must make restiturion (including community restitution) to the following payees in (he amount listed
          below.
          Lf   defendant makes a parti4 payment, each payee shall receive an a ximately proportioned payment, unless
          spec~fiedohiwise in thq plionty mda or proemtag=pa ent c o ~ u m n ~ w  Ho.wever,pursuant to 18 U.S.C. 5
          3661(1), all non-fedwl vlc-  must be pmd before the X t e d States.


                                                Total Loss*                Restitution Ordered                 Prioritv or Percentape




          Restitution amount ordered pursuant to plea agreement $
          The defendant must ay interest on a h e or restiMion of more than $2,500,unless the restinttion or h e is paid in full
          before the fi&mth    kyafter the date of the jud-     pursuant to 18 U.S.C. # 3612 0. All of the payment options on Sheei
                                                                                               6
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C.P 3 12(g).
          The coun deremiined h a t the defendant does no1 have the abili~ylo pay interest and ir is ordered that:

                  the merest requvement is w v e d for the - fine - murution.
                  h e interest requirement for the   - fine - restitution is modified as follows.

* Findings for the total amaunt of losses are required under Chapters 1OgA, 110.1 1OA, and 1 1 3A of Title 1 8 for the offenses committed
                                                                                                                                            I
on or after September 13,1994. but before April 23, 1 996.
      Case 8:07-cr-00495-JSM-TGW Document 134 Filed 05/22/08 Page 6 of 6 PageID 338
A 0 2458 (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:         CAMILO GARCIA-RODRIGUEZ                                                        Jud_ment - Page 6of 6
Case No.:          8:07-cr495-T-30TGW


                                                  SCHEDULE OF PAYMENTS



Havmg assessed the defendant's ability to pay, payment of the total clnminal monetary penaltm are due as follows:

         X         Lump sum payment of $ 100.00 due immediately, balance due
                             - not later Lhan               , or

                            -in accordance -C, - D, - E or -F below; or
                   Pa yinent to begin immediately (may be combined with -C, -D, or -F below); or
                  Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $         over a period
                  of         (e-g., months or years), to commence             days (e.g,, 30 or 60 d a y s ) j b e date of this
                  judgment ;or
         -         Payment in equal             (e.g., weekly, monthly, quarterly) installments of $
                                (e.g., months or years) to commence                     (e.g. 30 or 60-er
                                                                                                                     over a period of
                                                                                                                        release fiom
                   imprisonmeh to a term of supervision; or
                   Payment during the term of supervised release will commence within                  (e-g.,30 or 60 days)
                   after release from imprisonment. The court will set the payment plan based on an assessment of the
                   defendant's ability to pay at that time, or
         -         Specid instructions regarding the payment of criminal monetary penalties:


Unless tbe court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary
 &ties is dtre during m risonment. AII criminal monetary penalties, except those ayments made through the Federal
                              b
bureau of PrisonstInmate iagncial ResponsibilityProgram,are made to the clerk of e cow.       &
The defendant shall receive credit for all payments previously made toward any crl m a l nio netary penalties imposed.


        Defendant and Co-Defendant Names and Case Numbers (including defend ant n um ber) , Tot a 1 Amount, Joint and
Several Amount, and comsponding payee, if appropriate:


         The defendant shall pay the cost of prosecution.
         The defendant shall pay the following court cost(s):
         Thedefendant shall forfeit the defendant's interest in the follow~ngproperty to the Lin~tedStates:
        The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and
property, or portions thereof, subject to forfeiture, which are in the possession or control of the defendant or the defendant's
nominees.
P a m shaU be applied m the following order: (1) assessment, (2) restitdon principal, (3) restitution interest, (4) tine principal, (5)
fine interesf (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court toss
